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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

Jane Doe 1, individually and on behalf of
all others similarly situated,

Plaintiff,
Vv.
Deutsche Bank Akteingesellschaft, et. al.,

Defendants.

 

Jane Doe 1, individually and on behalf of
all others similarly situated,

Plaintiff,
Vv.
JPMorgan Chase Bank, N.A.,

Defendant.

 

 

Case No. 1:22-CV-10018 (JSR)

Case No. 1:22-CV-10019 (JSR)

PLAINTIFF JANE DOE 1’S NOTICE OF MOTION TO COMPEL DEFENDANT
JPMORGAN CHASE BANK, N.A. TO PRODUCE DOCUMENTS IN CLASS PERIOD

PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law, Plaintiff

Jane Doe 1 hereby moves for an order pursuant to Federal Rule of Civil Procedure 37 compelling

a

Defendant JPMorgan Chase Bank, N.A. (“JPMC”) to produce responsive documents for the same

 

 

 

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Class Period alleged in her First Amended Complaint. Doe’s motion and supporting Memorandum
nm

of Law are submitted before 5:00 PM today as ordered by the Court, JPMC’s opposition is due by

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5:00 PM on February 28, 2023, and there will be no reply and-no oral argument, lt: 4.

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Dated: February 23, 2023

Respectfully Submitted,
/s/ David Boies

David Boies

Andrew Villacastin

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Counsel for Plaintiff Jane Doe 1

 

 

 

 

 

 

 
